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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION

                                  Case No. 1:20-cv-00053-LAG

DEBORAH LAUFER, Individually,

       Plaintiff,,

v.

VRAJ HOSPITALITY, LLC, a Georgia Limited
Liability Company d/b/a QUALITY INN
BAINBRIDGE

      Defendant
__________________________________________/

               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(B), the parties hereby jointly stipulate to a dismissal of the above-

captioned action, including all claims therein, with prejudice, each party to bear her/its own costs

and attorney’s fees.

       Dated this 14th day of June, 2021.

____/s/ Kathy L. Houston           .                     /s/ Sujata J. Patel, Esq.                   .
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